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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 1:18-cv-22642-RNS


  STRIKE 3 HOLDINGS, LLC, a limited liability
  company,

         Plaintiff,

  v.

  JOHN DOE subscriber assigned IP address
  108.227.210.141, an individual,

         Defendant.

                                                     /

               PLAINTIFF’S RENEWED MOTION FOR LEAVE TO SERVE
            THIRD PARTY SUBPOENA PRIOR TO A RULE 26(f) CONFERENCE

         Pursuant to Fed. R. Civ. P. 26(d)(1), Strike 3 Holdings, renews its motion for entry of an

  order granting it leave to serve a third-party subpoena on AT&T Inc., prior to a Rule 26(f)

  conference (the “Motion”). Plaintiff initially filed this Motion on August 23, 2018, CM/ECF 9.

  On October 9, the Magistrate Judge entered an order, which, on the docket reflected an order

  granting the motion. However, the attached order inadvertently was an order from a different

  case. CM/ECF 12. On November 26, 2018, the Magistrate Judge vacated that order. CM/ECF

  13. Plaintiff has filed with the District Court a request for a further extension of time to serve the

  John Doe Defendant, CM/ECF 14 and now renews its motion so that, with the subpoena to the

  ISP, Plaitniff can identify the John Doe Defendant and proceed with this litigation. Plaintiff

  reasserts the basis for this subpoena that was set forth in the initial motion.
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             Plaintiff is filing the following attached exhibits in support of this Motion: (1)

  Declaration of Greg Lansky in support of this Motion, Exhibit A; (2) Declaration of Tobias

  Fieser in support of this Motion, Exhibit B; (3) Declaration of John S. Pasquale in support of this

  Motion, Exhibit C; (4) Declaration of Susan B. Stalzer in support of this Motion, Exhibit D; and,

  (5) Plaintiff’s proposed subpoena, Exhibit E. Plaintiff is also submitting a proposed order as

  Exhibit F and pursuant to the Local Rules is separately submitting the proposed Order in word

  format to Chambers. Plaintiff states the following in support of this Motion:

            I.       INTRODUCTION

            Strike 3 is the owner of original, award-winning adult motion pictures featured on its

  subscription-based websites.1 Unfortunately, like many other producers of motion pictures,

  Strike 3’s success is substantially harmed and threatened by users on the Internet illegally

  infringing its works on a very large scale. Indeed, Strike 3's motion pictures are among the most

  infringed content in the world. See Lansky Decl. ¶ 25.2

            To address this problem, Strike 3 hired an investigator, IPP International U.G., to monitor

  and detect the infringement of Strike 3’s content. IPP discovered that Defendant’s IP address

  was illegally distributing numerous motion pictures owned and copyrighted by Strike 3. Strike

  3’s independent forensic expert, John S. Pasquale reviewed the evidence captured by IPP and

  confirmed that Defendant’s IP address was involved in an infringing transaction at the exact date

  and time reported by IPP. See generally concurrently-filed Declaration of John S. Pasquale.

  Strike 3 only knows Defendant by his or her IP address.                      This IP address is assigned to

  Defendant by his or her Internet Service Provider (“ISP”), which is the only party that has the


     1
         See generally concurrently-filed Declaration of Greg Lansky ("Lansky Decl.").
     2
         See also Dylan Love, The Most-Pirated Man in Porn Is Getting Angry, INVERSE (May 24, 2017),
  https://www.inverse.com/article/31350-greg-lansky-tushy-blacked-vixen-interview.


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  information necessary to identify Defendant by correlating the IP address with John Doe’s

  identity.

          As a result, Strike 3 now seeks leave to serve limited, immediate discovery on

  Defendant’s ISP, AT&T Inc., so that Strike 3 may learn Defendant’s identity, investigate

  Defendant’s role in the infringement, and if warranted by the investigation, effectuate service.

  Further impelling expediency, Defendant’s ISP only maintains the internal logs of the requested

  information for a brief period of time. See Digital Sin, Inc. v. Does 1-176, 279 F.R.D. 239, 242

  (S.D.N.Y. 2012) (“[E]xpedited discovery is necessary to prevent the requested data from being

  lost forever as part of routine deletions by the ISPs.”).

          Accordingly, Strike 3 hereby seeks leave of Court to serve a Rule 45 subpoena on

  Defendant’s ISP. This subpoena will only demand the true name and address of Defendant.

  Strike 3 will only use this information to prosecute the claims made in its Complaint. Without

  this information, Plaintiff cannot serve Defendant nor pursue this lawsuit and protect its

  copyrights.

          II.    FACTS

                 A.      BitTorrent Infringement has a Serious and Damaging Impact on
                         Strike 3

          Greg Lansky (“Mr. Lansky”) is a member of General Media Systems, LLC, (“GMS”),

  the parent company that owns Strike 3. See Lansky Decl. at ¶ 1. Strike 3 owns the intellectual

  property to the Blacked, Blacked Raw, Tushy, and Vixen adult brands (the “Brands”), including

  the copyrights to each of the motion pictures distributed through the Brands’ sites and the

  trademarks to each of the Brand’s names and logos. Id. at ¶ 3. Strike 3 is owned entirely by Mr.

  Lansky’s company, GMS, and has existed since 2015. Id.




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          Mr. Lansky is the Chief Creative Officer of the Brands. Id. at ¶ 1. In 2006, Mr. Lansky

  moved to the United States from Paris to pursue his dream of creating art in an adult context. Id.

  at ¶ 4. He has always been passionate about photography and cinematography. Id.

  It was a difficult start. Mr. Lansky, who barely spoke speak English, had trouble making

  connections and finding employment. Id. at ¶ 5. Eventually, after tremendous hard work, Mr.

  Lansky was fortunate to be hired by some of the biggest adult brands in the world. Id. at ¶ 6.

  Through these experiences, Mr. Lansky was able to establish himself and become an expert in

  the field. Id.

          In 2013, Mr. Lansky decided to risk everything to create his own company and studio.

  Id. at ¶ 7. After a few years, his brands turned into a multi-million dollar a year business. Id. at

  ¶ 10. His philosophy is to pay artists and models an amount above that being paid by other

  companies, focusing on delivering superior quality films. Id. at ¶¶ 12–13. Moreover, Strike 3’s

  motion pictures are known for having the highest production budget of any in the adult industry.

  Id. at ¶ 15.

          Because of this, the websites for the Brands have a subscriber base that is one of the

  highest of any adult sites in the world, with 20 million unique visitors to its websites per month,

  and have a loyal following. Id. at ¶ 10. Strike 3 is also currently the number one seller of adult

  DVDs in the United States. Id. at ¶ 17. Finally, Strike 3’s content is licensed throughout the

  world, including by most major cable networks. Id. at ¶ 18. This success has led to numerous

  awards being bestowed upon Strike 3, such as “adult site of the year,” “best marketing campaign

  – company image,” and “best cinematography.” Id. at ¶ 19. Mr. Lansky himself has also won

  “director of the year” three years in a row. Id.




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           Unfortunately, piracy is a major threat and causes tremendous damage to Strike 3. As

  Mr. Lansky succinctly puts it, Strike 3 “can compete in the industry, but we cannot compete

  when our content is stolen.” Id. at ¶ 22. To continue to provide value for members, exciting and

  inspiring projects for adult performers, and to continue to create top paying jobs and growth in

  the adult community, Strike 3 must protect its copyrights. Id. at ¶ 29.

           B.       Strike 3 Brings its Litigation in Good Faith

           Strike 3 is mindful of the nature of the litigation and its goal is to not disclose publicly the

  choices people make regarding the content they wish to enjoy. Moreover, Strike 3 does not seek

  to force anyone to settle unwillingly, especially anyone that is innocent. Id. at ¶ 28. Therefore,

  Strike 3 only files strong cases against extreme infringers. Id. at ¶ 29. Indeed, each lawsuit is

  brought against infringers that not only engage in illegal downloading, but are also large scale

  unauthorized distributors of Strike 3’s content.3 Id. All defendants within the Strike 3 litigation

  have distributed, at a minimum, at least 15% of Strike 3’s entire copyrighted library. Id. Strike 3

  does not seek settlements unless initiated by a defendant or a defendant’s counsel. Id. at ¶ 30.

  Moreover, Strike 3 does not send demand letters nor make any attempt to contact a defendant

  prior to service of the Complaint. Id.

           Finally, although certainly Strike 3 does not believe anyone should be embarrassed about

  enjoying Strike 3’s works (they just need to pay for that right, not steal it), Strike 3 respects the

  desire of defendants to keep private their choices regarding content they choose to enjoy.



      3
        Recently, when evaluating the “deterrence” factor for awarding attorney’s fees, the Ninth Circuit noted
  Congress’s policy in favoring private actions to stem online infringement. While discussing The Digital Theft
  Deterrence and Copyright Damages Improvement Act, Pub. L. No. 106-106, 113 Stat. 1774, the Court of Appeals
  quoted Representative Coble‘s concern: “‘Copyright piracy . . . is flourishing in the world. With the advanced
  technologies available and the fact that many computer users are either ignorant of the copyright laws or simply
  believe that they will not be caught or punished, the piracy trend will continue’ absent increased penalties.” Glacier
  Films (USA), Inc. v. Turchin, No. CV 16-35688, 2018 WL 3542839, at *14 (9 th Cir. July 24, 2018) (finding
  Congress “rais[ed] the stakes for unlawful digital file-sharing”).


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  Accordingly, Strike 3 has a policy to: (1) enter into confidentiality agreements with defendants to

  facilitate resolution of cases; and (2) stipulate to requests by defendants to the entry of orders in

  litigation to maintain the confidentiality of a defendant’s identity. Thus, Strike 3 is careful to

  only proceed to litigation with strong cases, when it has a good faith basis for doing so, and to

  enforce its rights in a way that is mindful of a defendant’s privacy interests. Id. at ¶ 31.

       Strike 3 is a successful adult entertainment company that makes nearly all of its revenue

  from sales of subscriptions, DVDs, and licenses. Id. at ¶ 32. This litigation, or any litigation

  instituted by Strike 3, is not a business model. Id. Instead, Strike 3’s goal is to deter piracy (and

  seek redress for its harmful consequences) and redirect the infringement back into legitimate

  sales. Id. Proceeds that Strike 3 receives from settlements go back into making the company

  whole, including investing in better pay for artists and performers, better quality productions, and

  hiring and providing benefits for employees. Id.

       III.      ARGUMENT

         A.      Legal Standard Governing Expedited Discovery Requests to Identify an
                 Anonymous Defendant

         “The Federal Rules of Civil Procedure provide that discovery may commence before the

  parties have engaged in a discovery conference, if ordered by the court.” Tracfone Wireless, Inc.

  v. Adams, 304 F.R.D. 672, 673 (S.D. Fla. 2015) (citing Fed. R. Civ. P. 26(d), (f)). “Federal courts

  allow parties to conduct expedited discovery in advance of a Rule 26(f) conference where the

  party establishes ‘good cause’ for such discovery.” Id. (collecting cases). Courts in this District

  routinely grant limited expedited discovery in cases such as this where the plaintiff knows only




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  the defendants’ IP addresses.4

           “Good cause may be found where the need for expedited discovery, in consideration of

  the administration of justice, outweighs the prejudice to the responding party.” Id. (quoting

  Semitool, Inc. v. Tokyo Electron Am., Inc., 208 F.R.D. 273, 276 (N.D. Cal. 2002)).

           In Arista Records, LLC v. Doe 3, the court found that five factors are relevant to
           determining whether good cause exists for permission to serve such a subpoena as
           requested by the instant Motion: (1) whether Plaintiff has made out a prima facie
           claim of copyright infringement, (2) the specificity of the discovery requested, (3)
           the absence of alternative means to obtain subpoenaed information, (4) necessity
           for the subpoenaed information, and (5) Defendant's expectation of privacy.

  Malibu Media, LLC v. Doe, No. CV 14-61955, 2014 WL 12605556, at *1 (S.D. Fla. Nov. 17,

  2014) (citing Arista Records, LLC v. Doe 3, 604 F.3d 110 (2d Cir. 2010) (citing Sony Music

  Entm't v. Does 1-40, 326 F.Supp.2d 556, 564–67 (S.D.N.Y. 2004)). “Plaintiff has established

  that good cause exists, based on the above-referenced factors, for it to serve a third party




     4
       See e.g., Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address 104.189.92.70, No. CV 18-22641,
  [DE 10] (S.D. Fla. Aug. 7, 2018 (Torres, M.J.) (granting motion for leave to serve a third-party subpoena); Strike 3
  Holdings, LLC v. John Doe subscriber assigned IP address 72.28.158.119, No. CV 18-22650, [DE 12] (S.D. Fla.
  Aug. 6, 2018 (Torres, M.J.) (granting motion for leave to serve a third-party subpoena); Malibu Media, LLC v. John
  Doe subscriber assigned IP address 66.229.12.94, No. CV 13-62239, 2013 WL 12145943 (S.D. Fla. Oct. 31, 2013)
  (Scola, J.) (granting motion for leave to serve a third-party subpoena); Malibu Media, LLC v. John Doe subscriber
  assigned IP address 50.143.121.166, No. CV 14-60133 (RNS) (S.D. Fla. Feb. 6, 2014) [CM/ECF 7]; Plastic the
  Movie Ltd. v. Doe, No. CV 15-21303, 2015 WL 12843759 (S.D. Fla. May 29, 2015) (same); Manny Film, LLC v
  Doe, No. CV 15-80306, 2015 WL 2411201 (S.D. Fla. May 20, 2015) (same); Malibu Media, LLC v. Doe, No. CV
  14-23142-KMM, 2014 WL 12605503 (S.D. Fla. Sept. 29, 2014) (same); Manny Film LLC v. John Doe, subscriber
  assigned IP address 174.61.57.43, No. CV 1:15-20895 (RNS) (S.D. Fla. Mar. 16, 2015) [CM/ECF 7]; Hard Drive
  Prods., Inc. v. Does 1-32, No. CV 11-22206, 2011 WL 13223690 (S.D. Fla. Oct. 24, 2011) (denying motion to quash
  third-party subpoena); Boy Racer, Inc. v. Doe, No. CV 12-21099, 2012 WL 12886593 (S.D. Fla. June 15, 2012)
  (same). Courts across the nation have similarly granted analogous requests for leave seeking similar relief. See e.g.,
  Strike 3 Holdings, LLC v. Doe, No. 3: CV 17-1680 (CSH), 2017 WL 5001474 (D. Conn. Nov. 1, 2017); Strike 3
  Holdings, LLC v. Doe, No. CV 17-13300 (KM)(MAH), 2018 WL 783071 (D.N.J. Feb. 8, 2018); Strike 3 Holdings,
  LLC v. Doe, No. CV 18-431-LPS, 2018 WL 1942364 (D. Del. Apr. 25, 2018); In re Various Strike 3 Holdings, LLC
  Copyright Infringement Cases, No. CV 17-6717 (WFK)(CLP), 2018 WL 3404142 (E.D.N.Y. July 11, 2018); Strike 3
  Holdings, LLC v. Doe, No. CV 17-9654 (AT)(KNF), 2018 WL 1737217 (S.D.N.Y. Mar. 12, 2018); Strike 3 Holdings,
  LLC v. Doe, No. CV 18-777 (JRT/BRT), 2018 WL 2078707 (D. Minn. May 4, 2018); In re Strike Three Holding,
  LLC v. Doe, No. CV 18-00588 (MCE)(GGH), 2018 WL 2949827 (E.D. Cal. June 13, 2018); Strike 3 Holdings, LLC
  v. Doe, No. CV 17-07006-LB, 2017 WL 6594008 (N.D. Cal. Dec. 21, 2017); Strike 3 Holdings, LLC v. Doe, No. CV
  17-02316(GPC)(KSC), 2018 WL 324264 (S.D. Cal. Jan. 5, 2018); Strike 3 Holdings, LLC v. Doe, No. CV 17-2347
  (TJK), 2018 WL 385418 (D.D.C. Jan. 11, 2018).


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  subpoena on . . . the Internet Service Provider . . . .” Id.; see e.g., Strike 3 Holdings, LLC v. Doe,

  No. CV 3:17-1680 (CSH), 2017 WL 5001474, at *6 (D. Conn. Nov. 1, 2017).

         B.      There Is Good Cause for this Court to Grant Plaintiff’s Motion for Leave to Serve
                 Its Subpoena

                         1.      Plaintiff’s Complaint Makes A Prima Facie Claim for Direct
                                 Copyright Infringement

         To make a prima facie claim for copyright infringement, Plaintiff must show (1)

  ownership of a valid copyright, and (2) copying of constituent elements of the work that are

  original. Feist Publ'ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991). Plaintiff’s

  Complaint accomplishes this, stating: (1) “Plaintiff is the owner of the Works, which [are] an

  original work of authorship”; (2) “[d]efendant copied and distributed the constituent elements of

  Plaintiff’s Works using the BitTorrent protocol”; and (3) “[a]t no point in time did Plaintiff

  authorize, permit or consent to Defendant’s distribution of its Works, expressly or otherwise.”

  See Complaint at ¶¶ 35–37.

         Plaintiff owns a valid copyright in the Works, which are registered with the United States

  Copyright Office or have complete applications pending. See 17 U.S.C. § 410(c); see also

  Complaint at ¶¶ 31–33. Plaintiff’s prima facie allegations of infringement are attested to by

  Plaintiff’s investigator, IPP International U.G.’s employee, Tobias Fieser. See Exhibit “B.”

  Finally, each digital file has been verified to be a copy of one of Plaintiff’s copyrighted works.

  See Declaration of Susan Stalzer, Exhibit “D.”

         Plaintiff has also made a plausible prima facie showing of “copying.” “‘The word

  'copying' is shorthand for the infringing of any of the copyright owner's five exclusive rights’

  described in § 106.” A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1013 (9th Cir. 2001).

  Plaintiff’s Complaint alleges that Doe Defendant not only downloaded Plaintiff’s works over the




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  BitTorrent network, see 17 U.S.C. § 106(1), but also distributed these files to the BitTorrent

  swarm. See id. § 106(3); see also Complaint at ¶ 38. “This is sufficient to state a prima facie

  claim.” Strike 3 Holdings, LLC v. Doe, No. CV 18-777 (JRT/BRT), 2018 WL 2078707, at *2

  (D. Minn. May 4, 2018).

                         2.     Plaintiff Identifies the Limited and Specific Information Its
                                Subpoena Seeks That Is Necessary to Serve Doe Defendant

         Plaintiff’s Subpoena is limited and only “seeks concrete and narrow information: the

  name and address of the subscriber associated with [Doe Defendant’s] IP address . . . .” John

  Wiley & Sons, Inc. v. Doe, 284 F.R.D. 185, 190 (S.D.N.Y. 2012). “Courts have labeled the

  subscriber's identity and address as ‘highly specific,’ recognizing that Plaintiffs clearly need

  identification of the putative John Does in order to serve process on them and prosecute their

  claims . . . .” Strike 3 Holdings, No. CV 3:17-1680 (CSH), 2017 WL 5001474 at *3 (citations

  and internal quotations omitted).; Malibu Media, LLC v. Doe, No. CV 8:15-2313-T-17EAJ, 2015

  WL 12850570, at *1 (M.D. Fla. Nov. 4, 2015) (“Plaintiff's request is specific in that it is limited

  to basic information such as Doe Defendant's name and addresses.”). “Because the subpoena is

  sufficiently specific, the second principal factor weighs in favor of the Court granting Plaintiff's

  motion for leave to serve the subpoena.” Strike 3 Holdings, No. CV 3:17-1680 (CSH), 2017 WL

  5001474 at *3.

                         3.     There Are No “Alternative Means” to Uncover Doe Defendant’s
                                True Identity

         At this early stage in litigation, “[t]he only information Plaintiff has regarding Defendant

  Doe is his IP address.” Id. at *4. People using the internet are anonymous to the public, but the

  ISPs responsible for assigning any given IP address know who an address is assigned to and how

  to get in contact with them. Since there is no public registry of what IP addresses correspond to




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   which subscribers, Plaintiff’s subpoena is necessary to advancing litigation. See Declaration of

   John S. Pasquale; BMG Rights Mgmt. (US) LLC v. Cox Commc'ns, Inc., No. CV 16-1972, 2018

   WL 650316, at *2 (4th Cir. Feb. 1, 2018) (noting “only the ISP can match the IP address to the

   subscriber's identity”); Malibu Media, LLC v. Doe, No. CV 8:15-2313-T-17EAJ, 2015 WL

   12850570, at *1 (M.D. Fla. Nov. 4, 2015) (“If the information is erased, Plaintiff will be unable

   to link the IP address to Doe Defendant and pursue its infringement lawsuit.)”.

          There is simply no alternative means by which Plaintiff can identify Doe Defendant

   absent the present subpoena. Indeed, “BitTorrent software is ‘largely anonymous’ except insofar

   as it requires a user to broadcast the user's IP address.” John Wiley & Sons, Inc., 284 F.R.D., at

   190. “Plaintiff has established that good cause exists for it to serve a third-party subpoena on . . .

   the ISP identified in the complaint, because a Rule 45 subpoena to John Doe’s ISP is the only

   way in which Plaintiff can identify John Doe and thus move forward with the case.” Malibu

   Media, LLC v. Doe, No. CV 13–21579, 2013 WL 2950593, *1 (S.D .Fla. June 14, 2013).

           “Moreover, the information the plaintiff seeks is time sensitive as ISPs do not retain user

   activity logs for an extended duration.” Malibu Media, LLC v. Doe, No. CV 8:15-2295-T-

   24TGW, 2015 WL 12850568, at *1 (M.D. Fla. Oct. 28, 2015). “If the information is erased,

   Plaintiff will be unable to link the IP address to Doe Defendant and pursue its infringement

   lawsuit. In situations where ‘time is of the essence,’ courts have found good cause to grant

   expedited discovery.” Malibu Media, No. CV 8:15-2313-T-17EAJ, 2015 WL 12850570 at *1

   (citing Arista Records LLC v. Does 1–7, No. CV 3:08–18(CDL), 2008 WL 542709, at *1 (M.D.

   Ga. Feb. 25, 2008) (citation omitted)).




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                          4.      The Subpoenaed Information Is Necessary to Advance Plaintiff’s
                                  Infringement Claim

          As previously emphasized, Plaintiff cannot properly serve Doe Defendant without first

   ascertaining the subscriber’s identity from his or her ISP. Judge Chin framed this factor aptly:

   “Ascertaining the identities and residences of the Doe defendants is critical to plaintiffs' ability to

   pursue litigation, for without this information, plaintiffs will be unable to serve process.” Sony

   Music Ent’t, 326 F. Supp. 2d at 566. “Because learning the true identities of the pseudonymous

   individuals alleged to have violated Plaintiffs' copyrights is essential to their prosecution of this

   litigation, Plaintiffs have demonstrated their need for expedited discovery.” Arista Records, 589

   F. Supp. 2d at 153. “[W]ithout identifying Doe Defendant, Plaintiff cannot issue a summons and

   serve Doe Defendant in this lawsuit. Without participation by Doe Defendant, there can be no

   meaningful Rule 26(f) conference.” Malibu Media, No. CV 8:15-2313-T-17EAJ, 2015 WL

   12850570 at *2.

                                  5.      Defendant’s Minimum Privacy Interest Is Substantially
                                          Outweighed by Plaintiff’s Interest in Protecting Its
                                          Copyrights from Mass BitTorrent Infringers

          “[T]here is no expectation of privacy in ‘subscriber information provided to an internet

   provider,’ such as an IP address.” Strike 3 Holdings, No. CV 3:17-1680 (CSH), 2017 WL

   5001474 at *5 (citation omitted); see also Sony Music Entm’t Inc., 326 F. Supp. 2d at 566–67

   (noting Plaintiffs are “entitled to discovery in light of” this minimal interest). “Although the

   Eleventh Circuit has not addressed whether the Fourth Amendment protects IP addresses,5 other

   courts of appeal have held that it does not.” Levinson v. United States, No. CV 14-81244, 2016

   WL 5408165, at *2 (S.D. Fla. Sept. 28, 2016), certificate of appealability denied, No. CV 16-



      5 For a discussion on how IP address connect to and route Internet traffic, see generally
   United States v. Steiger, 318 F.3d 1039, 1042 (11th Cir. 2003) and articles cited within.


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   17548, 2017 WL 6760762 (11th Cir. May 11, 2017) (collecting cases).                  Indeed, courts

   throughout this Circuit have held that “Defendant does not have a reasonable expectation of

   privacy in [his or her] IP address . . . .” United States v. Ryan Anthony Adams, No. CR 6:16-11-

   ORL-40GJK, 2016 WL 4212079, at *4 (M.D. Fla. Aug. 10, 2016); see also id. at *3 (“Computer

   users lack a legitimate expectation of privacy in information regarding the to and from addresses

   for emails, the IP addresses of websites visited, the total traffic volume of the user, and other

   addressing and routing information conveyed for the purpose of transmitting Internet

   communications to or from a user.”). Moreover, Plaintiff’s central need for the subpoenaed for

   information, combined with its strong claim, substantially favors good cause. See Arista Records,

   604 F.3d at 124 (finding Doe Defendant’s “expectation of privacy for sharing copyrighted

   [works] through an online file-sharing network as simply insufficient to permit him to avoid

   having to defend against a claim of copyright infringement.”).

          As to free speech concerns, “[i]n cases where parties have argued that the First

   Amendment protected their anonymous speech in using their IP addresses, the Second Circuit

   has held that copyright infringers are not entitled to shield their identities from those who seek to

   enforce their claims under copyright law.” Strike 3 Holdings, No. CV 3:17-1680 (CSH), 2017

   WL 5001474 at *6 (listing examples). “[T]he Doe Defendant's First Amendment right to remain

   anonymous must give way to Plaintiff's right to use the judicial process to pursue its allegedly

   meritorious copyright infringement claim. Moreover, the Doe Defendant lacks the right under the

   Fourth Amendment to protect his IP address from revelation, where he has voluntarily shared

   such information with the Internet Service Provider. Plaintiffs will be granted leave to take early

   discovery to determine the identity of Defendant Doe.” Id. “Courts routinely find the balance

   favors granting a plaintiff leave to take early discovery” of the materials sought by the Plaintiffs




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   here.” Arista Records, 589 F. Supp. 2d 151 at 153 (quoting UMG Recordings, Inc. v. Doe, No.

   CV 08–1193, 2008 WL 4104214, at *4 & n. 3 (N.D. Cal. Sept. 3, 2008)).

          C.     Protective Order

          In some BitTorrent cases involving adult content, courts have found it appropriate to

   issue a protective order establishing procedural safeguards such as allowing a defendant to

   proceed anonymously.     See e.g., Strike 3 Holdings, No. CV 3:17-1680 (CSH), 2017 WL

   5001474 at *6–7. To that end, Strike 3’s Proposed Order contains a protective order shielding

   Doe Defendant’s identity, and Plaintiff respectfully encourages the Court to establish any other

   procedures it deems appropriate.

          IV.    CONCLUSION

          For the foregoing reasons, Strike 3 respectfully requests this Court grant leave to Strike 3

   to issue a Rule 45 subpoena to Defendant’s ISP.

   Dated: 11/27/2018                                 Respectfully submitted,

                                                     FOX ROTHSCHILD LLP
                                                     Attorneys for Plaintiff Strike 3 Holdings, LLC

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